Case 4:18-cv-10286-KMM Document 1 Entered on FLSD Docket 12/11/2018 Page 1 of 7



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      (W ritethefullnam eofthedefendant/sin thiscase)

                   COM PLAINT UNDER THE CIVIL RIGHTSACT,42U.S.C.j1983

      1. Party lnform ation

      A.plaintiff: /FsrzD                     Ifœwtr
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            YearofBirth:I96V             (Donotincludedayormonth,pursuanttoFed.R.Civ.P5.2)
            (W riteyourname,addressandprison/inmatenumber,ifapplicable)


      B.Defendant'
                 .(Y.' . P,                          Defendant'
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            OfficialPosition'
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            placeofEmployment: g7/4'
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            (Writethefullnameofeachdefendant,officialpositionandplaceofemployment.Attach a
            separatepageifyouneedadditionalspaceforadditionaldefendants.)
Case 4:18-cv-10286-KMM Document 1 Entered on FLSD Docket 12/11/2018 Page 2 of 7




          Il. Statem entofC laim

          Briefly describethe facts ofyourcase. Describehow each defendantisinvolved,nam esofother
          persons involved,and datesand places. Each claim should be stated in a separately num bered
          paragraph.Please use shortand plain statenrnts, w ith separately num bered paragraphsindicating
          w hy the reliefrequested should be granted. Do notidudelegalargumentsorcite casesorstatutes.
          Attach additionalpages,ifnecessary.                                 o
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      111. ReliefR equested

      Brietly statewhatyouarerequestingfrom theCourt(whatdoyouwanttheCourttodo) D o not                                                       .
      include legalargum entsorcite casesorstatutes. Attach additionalpages,ifnecessary.

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      IV. Jury Dem and

      Areyoudemandingajurytrial?        Yes Z s.
                                    signedthis N Nl. dayof0g'
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                                                            z
                                                                    Sig t e ofPlaintiff


                         Ideclareunderpenaltyofperjurythattheforegoingistruceandcorrect.
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                                                                    Sign   e ofPlaintiff
Case 4:18-cv-10286-KMM Document 1 Entered on FLSD Docket 12/11/2018 Page 4 of 7


     AO 240 (Rev.07/10)ApplicationtoProceedinDistrictCourtWithoutPrepayingFeesorCosLs(ShortForm)

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            zp                  Vsg/vfpY                                )
                            Plaintp petitioner                          )
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                /4v. b. sr Asw                                          ) civi
                                                                             lActionNo.
                         De#ndant/Respondent                            )

           APPLICATION TO PRO CEED IN DISTRICT COURT W ITH OUT PREPAYING FEES OR COSTS
                                                                 (ShortForm)
        1am aplaintifforpetitionerin thiscaseand declarethatIam unabletopay thecostsoftheseproceedingsand
 that1am entitledtothereliefrequested.
 .




             lnsupportofthisapplication,1answerthefollowingquestionsunderpenalty ofperjury:
              1.Ifincarcerated.Iambeingheldat: R                                             l / s y s .-
                                                                                               ,
                                                                                                              ##.
 lfemployed there,orhave an accountinthe institution,Ihaveattached to thls cumenta statemen certiiied by the
 appropriateinstitutionalofticershowinga11receipts, expenditures,and balancesduring the lastsix monthsforany
 institutionalaccountin my nam e.1am also subm itting a similarstatementfrom any otherinstitution whereIwas
 incarcerated during thelastsix months.

             2.l
               fnotincarcerated.If1amempl
                                        oyed,myemployer'snameandaddressare: > /z3
 M y grosspay orwagesare: $                                   ,and my take-homepay orwagesare: $          /
                                                                                                          ,    per
     (spec# payperiod)                                   .
             3.OtherIncome.lnthepast12 months,Ihavereceived incomefrom thefollowing sources(checkallthatappl
                                                                                                           y):

          (a)Business,profession,orotherself-employment                      O Yes                    o
          (b)Rentpayments,interest,ordividends                               !
                                                                             D Yes                    o
          (c)Pension,annuity,orlifeinsurancepayments                         O Yes                    o
          (d)Disability,orworker'scompensationpayments                                             (
                                                                                                   7 No
          (e)Gifts,orinheritances                                               es                 O No
          (9 Anyothersources                                                 E
                                                                             7 Yes                    o
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Case 4:18-cv-10286-KMM Document 1 Entered on FLSD Docket 12/11/2018 Page 5 of 7


    AO240 (Rev.07/10)ApplicationtoProceedinDistrictCourtW ithoutPrepayingFeesorCosts(ShortForm)

             4 Amountofmoney thatlhave in cash orin a checking orsavingsaccount: $                                  $           .



             5.Anyautomobile,realestate,stock,bond,security,trust,jewelry,artwork,orotherfinancialinstrumentor
    thing ofvaluethat1own,including any item ofvalue held in someone else'snam e(describethepropert
                                                                                                  yanditsapproximate
    value): .-.. -..                 . o                        .
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            6.Any housing,transportation,utilities,orloanpayments,orotherregularmonthly expenses(describeandprovide
    theamountofthemonthl
                       yexpense):                              m                ;
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                                               C- #                          1.1/-ç      ,*,
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             7.Names(or,ifunder18,initialsonly)ofal1personswhoaredependentonmeforsuppolt myrelationship
    with each person,andhow much 1contributeto theirsupport:


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             8.Any debtsorfinancialobligations(describetheamountsowedandtowhom theyarepayablel'
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             Declaration.
                        .ldeclareunderpenaltyofperjurythattheaboveinformationistrueandunderstandthatafalse
    statementmay resultin a dismissalofmy claims.


    Date: /R
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Case 4:18-cv-10286-KMM Document 1 Entered on FLSD Docket 12/11/2018 Page 6 of 7                          pr
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Case 4:18-cv-10286-KMM Document 1 Entered on FLSD Docket 12/11/2018 Page 7 of 7




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